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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

        UNITED STATES OF AMERICA                                No. 3:19-CR-083-M

        v.

        RUEL M. HAMILTON

   GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE BUSINESS
  RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11) AND
                    OFFICIAL RECORDS

         The United States of America (the “government”) gives the Court and defendant

notice of its intent to introduce the following business records by affidavit or

declaration, pursuant to Federal Rules of Evidence 803(6) and 902(11), as well as the

following official records:1


Exhibit            Description              Sponsoring                  Offered          Admitted        Bates
                                            Witness                                                      Numbers
    1        T Mobile subscriber            PStephenson                                                  00079925
             records for Caraway            ETighe
             phone numbers ending           Business Record
             in **7336, **6663,             Affidavit (“BRA”)
             **4320
    2        Caraway toll records           PStephenson                                                  00079926 –
             for T Mobile phone             ETighe                                                       00079930
             number ending in               BRA
             **7336, **6663,
             **4320
    3        AT&T subscriber                PStephenson                                                  00028000
             information for                ETighe                                                       00028873
             Hamilton phone                 BRA                                                          00028874
    1
     The business records declaration or affidavit, or the relevant certification, is contained on the first or last
    page of the exhibit unless the exhibit is an excerpt, such as a check from bank records, in which case the
    declaration or affidavit is with the complete exhibit.

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Exhibit          Description           Sponsoring    Offered    Admitted   Bates
                                       Witness                             Numbers
           number ending in                                                00070418
           **3934                                                          00270947
                                                                           00270948
   4       Hamilton toll records       PStephenson                         00028011 –
           for AT&T phone              ETighe                              00027998
           number ending in            BRA
           **3934                                                          00270951 –
                                                                           00271057
  11       $7,000 check written        DCaraway                            00000366
           by Hamilton to
           Caraway on 8/3/18
  17       DCC Official Action         BRA                                  00082250
           for Item 34 on 5/10/17                                           –00082269
  21       Philip Kingston             MRawlings                           00080234 –
           Request for Placement       BRA                                 00080246
           of Agenda Item –
           Earned Paid Sick
           Leave on 2/27/19
  22       4/24/19 Dallas City         MRawlings                           00080381 –
           Council Agenda                                                  00080404
  23       4/24/19 Dallas City         MRawlings                           00080405 –
           Council Minutes                                                 00080482
  24       4/24/19 Video of            MRawlings                           00074247,
           Dallas City Council         BRA                                 00080483 –
           Meeting                                                         00080484
  26       HUD funds to City of        SHenly                              00082217 –
           Dallas: Oct 2013 – Sep      JSangavnag                          00082242
           2018
  30       Amerisouth’s Royal          BMitchell                           N/A
           Crest LIHTC
           application to City of
           Dallas
  31       Amerisouth’s Royal          BBoston                             00234525 –
           Crest LIHTC                                                     00235641,
           application to Texas                                            00234493 –
           Department of Housing                                           00234494
           and Community Affairs
  33       Hamilton Amegy Bank         VCasterline                         Various
           records for account         BRA                                 Ranges
           ending in **8967
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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
  34      Hamilton Amegy Bank          VCasterline                        Various
          records for account          BRA                                Ranges
          ending in **5234
  35      Hamilton Amegy Bank          VCasterline                        Various
          records for account          BRA                                Ranges
          ending in **3308
  36      Hamilton Independent         VCasterline                        Various
          Bank of Texas records        BRA                                Ranges
          for account ending in
          **1273
  37      Hamilton Sovereign           VCasterline                        Various
          Bank records for             BRA                                Ranges
          account ending in
          **0497
  38      Hamilton Veritex Bank        VCasterline                        Various
          records for account          BRA                                Ranges
          ending in **1620
  39      Hamilton Plains              VCasterline                        Various
          Capital Bank records         BRA                                Ranges
          for account ending in
          **2820
  40      AS Management                VCasterline                        Various
          Services LLC Veritex         BRA                                Ranges
          Bank records for
          account ending in
          **8014
  41      Windchime                    VCasterline                        Various
          Investments LLC              BRA                                Ranges
          Veritex Bank records
          for account ending in
          **2788
  42      Hip Hop Government           VCasterline                        Various
          Inc. Bank of America         BRA                                Ranges
          records for account
          ending in **7505
  43      Hip Hop Government           VCasterline                        Various
          Inc. Bank of America         BRA                                Ranges
          records for account
          ending in **7592

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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
  44      Hip Hop Government           VCasterline                        Various
          Inc. Bank of America         BRA                                Ranges
          records for account
          ending in **7725
  45      Hamilton $5,000 check        JScroggins                         00000395
          to MLK Center dated
          11/18/13; Amegy Bank
          account ending in
          **8967; check # 5046
  46      Hamilton $2,500 check        JScroggins                         00000377
          to Jay Scroggins dated
          11/18/2013; Amegy
          Bank account ending
          **8967; check # 5048
  47      TDHCA Qualified              BMitchell                          00235788 –
          Allocation Plan 2015         BBoston                            00235934
                                       BRA                                00235943 –
                                                                          00235944
  48      Davis 2014 City of           BJohnson                           00083684 –
          Dallas financial                                                00083709
          disclosure form
  49      Hamilton $2,500 check        JScroggins                         00000399
          to Hip Hop
          Government dated
          9/10/14; Independent
          Bank of Texas account
          ending in **1273;
          check # 1040
  50      Dallas Housing               BMitchell                          00271147 –
          Department Memo re:                                             00271160
          Low Income Housing
          Tax Credit Program
          dated 10/17/14
  51      Hamilton $2,500 check        JScroggins                         00000403
          to Hip Hop
          Government dated
          10/20/14; Amegy Bank
          account ending in
          **8967; check # 5022

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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
  52      Hamilton $9,000 check        JScroggins                         00000421
          to Hip Hop
          Government dated
          11/7/14; Sovereign
          Bank account ending in
          **0497; check # 589
  53      Hamilton $6,000 check        JScroggins                         00000423
          to Hip Hop
          Government dated
          11/18/14; Sovereign
          account ending in
          **0497; check # 621
  56      Dallas Housing               BMitchell                          00271207 –
          Department Memo re:                                             00271227
          Low Income Housing
          Tax Credit Program
          dated 1/2/15
  57      Hamilton $3,500 check        JScroggins                         00000374
          to Hip Hop
          Government dated
          1/8/15; Amegy account
          ending in **8967;
          check # 5054
  58      Dallas Housing               BMitchell                          00075048 –
          Finance Corporation          BRA                                00075050
          minutes for 1/13/15                                             00271467
          meeting
  59      Hamilton $1,500 check        JScroggins                         00000376
          to Hip Hop
          Government dated
          1/22/15; Amegy
          account ending in
          **8967; check # 5058
  60      Hamilton checks to           MWaples                            00035376,
          Dallas City Council                                             00035377,
          Member Tiffinni                                                 00017863
          Young dated 1/22/15
  61      Dallas Housing               BMitchell                          00271161 –
          Department Memo re:                                             00271206
          Low Income Housing
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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
          Tax Credit Program
          dated 1/30/15
  62      2/2/15 Dallas Housing        BMitchell                          00073329 –
          Committee vote re:                                              00073331
          Royal Crest
  63      2/2/15 video of Dallas       BMitchell                          00073150,
          Housing Committee            BRA                                00075645
          meeting
  80      2/25/15 Dallas City          BMitchell                          00073152 –
          Council agenda re:                                              00073190
          Royal Crest
  81      2/25/15 Dallas City          BMitchell                          00073191 –
          Council minutes re:                                             00073328
          Royal Crest
  82      2/25/15 Audio                BMitchell                          00271307
          recording of Dallas          BRA                                00075645
          City Council vote re:
          Royal Crest
  83      Resolution 15-409            BMitchell                          00075158 –
          authorizing $2.52                                               00075166
          million loan for Royal
          Crest
  86      Hamilton checks to           MWaples                            00028989 –
          Dallas City Council                                             00028990
          Member Carolyn
          Arnold dated 2/27/15
  87      Hamilton checks to           MWaples/                           00028990 –
          Dallas City Council          DCaraway                           00028992
          Member Dwaine
          Caraway dated 2/27/15
          and 3/18/15
  88      Hamilton $2,000 check        JScroggins                         00000435
          to Hip Hop
          Government dated
          3/6/15; International
          Bank of Texas account
          ending in **1273;
          check # 1084


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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
  117     Amended Resolution           BMitchell                          00079637 –
          15-0457 authorizing          BRA                                00079642
          $168,000 loan for                                               00079614
          Royal Crest dated
          5/8/15
  124     International Bank of        MWaples                            00016655
          Texas record for
          $5,000 withdrawal
          dated 5/18/15 from
          account ending in
          **1620
  140     Sovereign Bank record        MWaples                            00028992
          for $4,000 withdrawal
          on 6/5/15 from account
          ending in **0497
  141     Sovereign Bank record        MWaples                            00028993
          for $5,000 withdrawal
          on 6/11/15 from
          account ending in
          **0497
  155     Subscriber information       DRamsey                            Various
          and toll records for                                            Ranges
          Davis phone numbers
          ending in **2797,
          **6285, *7601
  156     Cell site data of Davis      BRA                                00080797,
          and Hamilton meetings                                           00080799,
          [3/9; 3/31; 4/14; 5/18;                                         00080801,
          6/5/15]                                                         00080803,
                                                                          00080805
  180     Hamilton checks to           VCasterline                        Various
          Davis post-DCC                                                  Ranges

  186     AT&T subscriber              BRA                                Various
          information and toll                                            Ranges
          records for Scroggins
          phone number ending
          in **5829


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Exhibit          Description           Sponsoring    Offered   Admitted   Bates
                                       Witness                            Numbers
  188     2015 LIHTC Notice of         BBoston                            00235943
          Funding Availability         BRA
          (NOFA)




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                                              Respectfully submitted,

                                              PRERAK SHAH
                                              Acting United States Attorney

                                              /s/ Andrew Wirmani
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2021, I electronically filed the foregoing document

with the Clerk of Court for the United States District Court, Northern District of Texas,

using the electronic case filing system of the Court. The electronic case filing system

sent a “Notice of Electronic Filing” to all attorneys who have consented in writing to

accept this Notice as service of this document.


                                              /s/ Andrew Wirmani
                                              ANDREW O. WIRMANI
                                              Assistant United States Attorney




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